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              In the United States Court of Appeals
                      for the Ninth Circuit
                                  ___________

                                   No. 22-16020

                     TERESA MACCLELLAND, ET AL.,
                             APPELLEES

                                         v.

                   CELLCO PARTNERSHIP; VERIZON
                 COMMUNICATIONS, INC., APPELLANTS
                           ___________

                    NOTICE OF SETTLEMENT
          AND JOINT MOTION TO HOLD CASE IN ABEYANCE
                         ___________

        This case is scheduled to be argued next Tuesday, November 14. The

parties jointly write to notify the panel that they have reached a settlement in

principle and that, upon consummation of the settlement, appellants will move

to dismiss this appeal under Federal Rule of Appellate Procedure 42. The

parties therefore respectfully request that this case be removed from the ar-

gument calendar and held in abeyance pending consummation of the settle-

ment.




                                         (1)
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                                           Respectfully submitted,

/s/ Stephen P. DeNittis                     /s/ Kannon K. Shanmugam
STEPHEN P. DENITTIS                         KANNON K. SHANMUGAM
DENITTIS OSEFCHEN, PC                       PAUL, WEISS, RIFKIND,
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NOVEMBER 9, 2023




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               CERTIFICATE OF COMPLIANCE
        WITH TYPEFACE AND WORD-COUNT LIMITATIONS
     I, Kannon K. Shanmugam, counsel for appellants and a member of the

Bar of this Court, certify that the foregoing Notice of Settlement and Joint

Motion to Hold Case in Abeyance is proportionately spaced, has a typeface of

14 points or more, and contains 71 words.


                                            /s/ Kannon K. Shanmugam
                                            KANNON K. SHANMUGAM
NOVEMBER 9, 2023
